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                   UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA
                          SOUTHERN DIVISION



 DEALERSGEAR, INC. et al.,                Case No. SA CV 22-01011-DFM

         Plaintiffs,                      JUDGMENT

             v.

 GET MY AUTO, LLC et al.,

         Defendants.



      Having granted Defendants’ Motion for Summary Judgment (Dkt. 64),
the Court hereby ORDERS, ADJUDGES, AND DECREES as follows:
      Defendants shall have JUDGMENT in their FAVOR, and AGAINST
Plaintiffs. Plaintiffs shall take nothing by way of their Second Amended
Complaint.



 Date: January 10, 2024                    ___________________________
                                           DOUGLAS F. McCORMICK
                                           United States Magistrate Judge
